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                     EXHIBIT 4
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                   Transcript of WSOU’s Tech Tutorial for the ’961 Patent
This tutorial provides an overview of the technology at issue in case number 6:20-cv-585
between Plaintiff Brazos licensing and development and defendant Google LLC as related to US
Patent Number 8,737,961.
We'll start with a brief overview of the ’961 patent and its relation to location-based services.
The ‘961 Patent, which is directed to a method and apparatus for incrementally determining the
location context of a mobile user, was filed on September 23rd, 2009, and granted on May 27th,
2014.
Service providers are often focused on how to improve customer engagement and marketing.
Providers of services, including internet-based service providers and third party service providers
such as app developers or retail businesses, may improve customer engagement by delivering
content such as relevant ads, coupons, or other information to users in the right place at the right
time. This can be accomplished by offering a particular service to a mobile user based on the
user's current location.
For example, when a mobile user is near a Starbucks, advertisements for marketing notifications
related to Starbucks may be delivered to that user in the form of SMS push notifications that
might influence the user’s engagement. In this example, the user’s receipt of a digital coupon
might result in an additional sale for Starbucks.
Continuing with this example, the location-based service provider—here, Starbucks—receives
location information of the mobile user at a certain time. Based on the determination that the user
is near or at a location of interest, like a Starbucks store, it delivers the ad or recommendation
service to the user. A location-based service approach obviously requires the determination of a
user's current location. A user's location information can be determined via various signal
sources around the user's mobile device. For example, a mobile device may see or receive signal
information from sources around it such as cellular base stations or Wi-Fi access points.
Further, location information can also be determined from the global positioning system, or GPS.
Geofencing is the use of received location information to create a virtual geographic area within
certain boundaries. Geofencing is used to determine when a mobile device enters or leaves that
geographic area. At its simplest, that virtual geographic area may be determined from map
coordinates, such as longitude and latitude and a given radius. A location-based service provider
can determine whether the mobile device is moving outside a geofence boundary or is remaining
stationary within the geofence boundary at a particular time from examining the signal data that
it receives from the mobile device. That signal data may include geographic data about the signal
sources around that mobile device at a given time.
Here you
     y can see one of the claims asserted in this case,, claim 1 of the ‘961 ppatent. The
followingg example illustrates how geofencing-based services are delivered in the context of the
‘961 patent.
The mobile device sends signal data to the location-based service provider. The location-based
service provider determines that the mobile device is not moving outside a specified area from
observing the signal data for different times within a duration. The location-based service
provider increments a count that is associated with the specified area. The location-based service


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p
provider determines whenever the device enters a specified
                                                  p        area that has an associated frequently
                                                                                          q
incremented count. The location-based service provider then pushes the location-based service
such as a marketing notification.




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